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                EXHIBIT 5
The Wayback MachineCase
                    - http://web.archive.org/web/20181227141928/https://www.att.com/cellphones/samsung/galaxy-note9.html
                           6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 2 of 18
                                                                                                                                                          Sign in




     Home   Shop    Cell Phones    Samsung    Samsung Galaxy Note9




     Get a $200 credit when you purchase a Galaxy S8 Active, S9, S9+ or Note9 and trade in an eligible smartphone. See offer details.
                                                     Samsung Galaxy Note9
                                                                           4.7 151 reviews

                                                                         Top                                          




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 People also bought


      Apple iPhone XS Max                    Apple iPhone XR                     Samsung Galaxy                                Samsung Galaxy S9+
                                                                                     Note9

               4.5 | 206 reviews                     4.6 | 115 reviews                       4.7 | 150 reviews                        4.5 | 398 reviews
Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 3 of 18




                          Key features
                       All-day battery




              Store more, delete less




          Largest Infinity Display ever




                        Mightier S Pen




            The new super powerful Note
Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 4 of 18
   Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 5 of 18

                                                     BATTERY

                                            All-day battery
                      Introducing a powerful, long-lasting, all-day battery.1
    The largest battery in a Note, ever. When you have a long-lasting battery, you really can go all day and all
                                                     night.




                                       4000mAh




                                                    STORAGE

                                                   Bigger
                  Store more and delete less with 128GB and 512GB2 models.
The Galaxy Note9 has twice as much storage as the Note8, which means more music, more videos, more pictures,
                             and less worry when it comes to space on your phone.
Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 6 of 18


                                          SCREEN & DISPLAY

                                              Brilliant
              See even more with Samsung's largest Infinity Display ever.
     At 6.4", the Galaxy Note9 has the largest screen of any Galaxy phone. Perfect for gaming and
                streaming, Samsung's Super AMOLED display is bigger than ever before.




                                                 S PEN

                                             Mightier
               All-new S Pen. Now with intelligence for ultimate control.
  Still amazing on screen, but now the S Pen has more power off screen. Now with Bluetooth, remotely
 control different applications and use the S Pen to capture shots from far away, scroll, play music, and
                                       stop/start recording video.
Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 7 of 18

                                                    SPEEDS

                                                  Faster3
       Cutting-edge technology for remarkably fast downloads and uploads.
The Galaxy Note9 gives you a quick network connection for incredibly fast streaming and downloading, so
                                    you can do more, uninterrupted.




                                  *Video simulated for illustration purposes.
 ©2018 Epic Games, Inc. Epic Games, Fortnite, and their logos are trademarks or registered trademarks of Epic
                 Games in the USA (REG. US. Pat & Tm. Off.) and elsewhere. All rights reserved.

         Battle your way through Fortnite on the high-performing Galaxy Note9 and enjoy exclusive in-game
                                                             4
                                                    items.




                                                   CAMERA

                                                Timeless
            Adapts like the human eye for spectacular shots, day or night.5
  The revolutionary Dual Aperture lens that self-adapts between f/1.5 and f/2.4 apertures depending on
                         available light, so you get beautiful photos in any light.
Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 8 of 18




         f/2.4 aperture mode                             f/1.5 aperture mode
In the daylight, the lens shifts to f/2.4 mode   If it's dark, the lens opens to f/1.5 mode to
    to help your picture come out sharp.           pull in light for a bright and clear photo.
                       Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 9 of 18




                                              Galaxy Note9

CA residents: WARNING. See Proposition 65 notice




                                              Specifications
 Manual and tutorial

                                                                                           Expand All


Dimensions                                                                                       
                                                                                                 

Display                                                                                          
                                                                                                 

Camera & Video                                                                                   
                                                                                                 

Battery                                                                                          
                                                                                                 

Processor                                                                                        
                                                                                                 
Memory              Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 10 of 18                                                             
                                                                                                                                                   

Operating System                                                                                                                                   
                                                                                                                                                   

Wireless Technology                                                                                                                                
                                                                                                                                                   

Apps                                                                                                                                               
                                                                                                                                                   

  Preloaded apps from AT&T;

  AT&T; Call Protect, AT&T; Device Help, AT&T; DriveMode®, AT&T; Mobile Security, AT&T; ProTechSM, AT&T; Setup & Transfer, AT&T; Smart Limits
  SM
     , AT&T; Smart Wi-Fi, AT&T; Visual Voicemail, DIRECTV, Mobile Services Manager

  Preloaded apps from Samsung

  Game Launcher, PENUP, S Health™, Samsung Galaxy Apps, Samsung Gear, Samsung KNOX™ (KNOX mode), Samsung Notes, Samsung Pay,
  Samsung+, Samsung Smart Switch, Secure Folder, SmartThings

  Additional apps

  Amazon® Shopping, Facebook®, Google Pay, Google Play™ Store, Google Drive™, Google Duo, Google Maps™, Google Photos™, Google
  Play™ Movies & TV, Google Play™ Music

  myAT&T;

  Provides fast, easy account access virtually anywhere, anytime

  Web browser

  Internet, Google Chrome™



Sensors                                                                                                                                            
                                                                                                                                                   

Messaging & email                                                                                                                                  
                                                                                                                                                   

Music                                                                                                                                              
                                                                                                                                                   

Accessibility                                                                                                                                      
                                                                                                                                                   

Sustainability                                                                                                                                     
                                                                                                                                                   




                                                    Samsung Galaxy Note9Reviews


   ★★★★★ 4.7           151 reviews

  130 out of 142 (92%) reviewers recommend this product


                                                                                     151                     126                      153
   Search topics and reviews                                       ϙ               Reviews                 Questions                 Answers


 Reviews                                                                                                                              Write a review
                         Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 11 of 18
Rating snapshot                                                                                      Average customer ratings

Select a row below to filter reviews                                                                 Overall           ★★★★★                         4.7

 5★                                                     124                                          Design                                          4.8

 4★                                                     13                                           Features                                        4.8

 3★                                                      8                                           Performance                                     4.8

 2★                                                      5

 1★                                                      1




1–4 of 151 reviews                                                                                                                             ?       Sort by: Most relevant ▼   ≡

★★★★★ Jinthebay · 4 months ago
Awesome Upgrade


I upgraded from an S7 edge and not boy am I glad I waited for the note 9. Yes it is a big phone but I can handle it just fine. It has a   Design
beautiful bright display. Battery life is very good. Like really. It is. The Dolby dual speakers make such a difference in sound
quality. The AKG earbuds that come with the phone sound phenomenal. The best I've personally ever heard from any other buds.
                                                                                                                                          Features
The only negative I would say about the phone is that it's thick and pretty hefty. Other than that it's perfect. I've had it since the
24th and I can't put it down.

                                                                                                                                          Performance
✔ Yes, I recommend this product.




  Originally posted on Samsung Galaxy Note9 - 128GB - Lavender Purple




Helpful?     Yes · 89      No · 23       Report




★★★★★ Cindybn · 15 days ago
Better than the iPhone
                        Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Design
                                                                              Page 12 of 18
Love this phone from size to the pen from storage to photo quality, this phone takes pictures so nice on dim and night time
something that mu old pop e was lacking, keeps me organized even more and with the s pen I can right notes and on pictures get
Autographs, plus I tested it with my friend who has the new iPhone and mine took better pictures, if your a picture lover and like
                                                                                                                                        Features
vlogging and or love being organized this phone is for you , highly recommend if your deciding between iPhone and this one and
storage enough said and no need for ear buds comes with it and fast charging oh and battery for me long lasting, best phone out
there so far very pleased                                                                                                               Performance


✔ Yes, I recommend this product.




Helpful?     Yes · 3        No · 0     Report




★★★★★ Cghost31 · 4 months ago
Beast of a phone! Never going back to iPhone


512gb storage 8gb ram spen best screen on the market fast wireless charging fast charging iris scanner fingerprint scanner etc etc      Design
etc. This phone has every feature you could want in a smart phone with an all day battery while being waterproof. Call it what you
want but you would be crazy to buy any other phone that doesn't do everything this phone does. The features list is so long and
                                                                                                                                        Features
you will find most features are features that actually are useful not gimmicky. I'm done talking about it. Go buy some other trash
and be left wanting more I'll enjoy the best phone of 2018 with my vr and best rated screen on a smartphone.
                                                                                                                                        Performance
✔ Yes, I recommend this product.



Helpful?     Yes · 82        No · 19     Report




★★★★★ EGonse80 · 4 months ago
Love It!!!


My first Note was the Note 4. That was a great device for it's time. I still see a few people using them here and there. Had the        Design
iPhone 7 before upgrading to this beast. First impressions had me in an OMG moment. This device is huge. It's like carrying a
tablet in my hands. Screen is huge, bright, crystal clear, and vibrant. I miss having an android device and a Note device at that.
                                                                                                                                        Features
The customization is virtually endless. Functionality is great for me as I have big sausage fingers. Battery life is awesome and this
thing charges lightning fast. 0 to about 50% in slightly less than 30 minutes. I'm a moderate to heavy user. Take it off the charger
around 9am and still have about 35 - 40% by 10 PM. Don't see myself getting tired of this device for a good while.                      Performance


✔ Yes, I recommend this product.


Helpful?     Yes · 59        No · 7     Report



1–4 of 151 reviews                                                                                                                                    ◄   ►



                                                      Samsung Galaxy Note9Questions & Answers
                         Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 13 of 18
Questions                                                                                                                                                      Ask a question



 1–10 of 126 questions                                                                                                                          Sort by: Most helpful answers ▼



 Vaan Ryu · 4 months ago                                                                                                                                                5
 Is it possible to install your own MicroSD card for use & storage expansion?                                                                                       answers




   Answer this question



    AngPV · 4 months ago


    Yes if u can fit it alone or with adaptors and then IMPORTANTLY, GO INTO SETTINGS AND FIND SD card settings and see if ur device allows reformatting
    the SD. But it will be wiped clean possiblly so trade or copy ur files.




    Helpful?      Yes · 35      No · 7       Report




 Product FAQs · 5 months ago                                                                                                                                            5
 All the pictures I've seen has the S-Pen on the outside of the phone. Does the pen fit inside the phone?                                                           answers




   Answer this question



    MeCo2 · 5 months ago


    Yes, the S Pen fits inside the phone. It also charges inside the phone. A 40 second charge lasts 30 minutes.




    Helpful?      Yes · 107       No · 10       Report




 rawrshesays · 4 months ago                                                                                                                                             4
 What type of USB charging cable will the Samsung Note 9 use?                                                                                                       answers




   Answer this question



    phonewhiz123 · 4 months ago


    The Note9 uses a USB-C cable, which comes included in the box.




    Helpful?      Yes · 35      No · 2       Report




 U da man · 5 months ago                                                                                                                                                4
                       Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 14 of 18
What accessories are att offering with the phone promotional wise. Headphones, Fortnite skin?                                                                    answers




 Answer this question



   SmartphoneGuru628 · 5 months ago


  AT&T has nothing to do with this promotion, it is being offered solely by Samsung and Epic Games. The promotion, though vague in terms of redemption, states
  that anyone that pre-orders the phone can validate and redeem through the Shop Samsung app once they receive the phone.




  Helpful?      Yes · 8       No · 10       Report




Mike43725 · 4 months ago                                                                                                                                           3
Does the note 9 come with a screen protector?                                                                                                                    answers




 Answer this question



   DavidATT · 4 months ago


  Hi Mike43725,

  It does not, but the screen is made out of gorilla glass.

  David, AT&T Community Specialist




  Helpful?      Yes · 29       No · 5       Report




Product FAQs · 5 months ago                                                                                                                                        3
Is a wireless charger included with the Note9?                                                                                                                   answers




 Answer this question



   Fredyisai · 5 months ago


  Not including you have to buy separate




  Helpful?      Yes · 23       No · 4       Report




rickstools · 2 months ago                                                                                                                                          2
does it have a head phone jack                                                                                                                                   answers




 Answer this question
                       Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 15 of 18
   ATTChrisCS · 2 months ago


  Hi @rickstools,

  It sure does. You can use your favorite headset.

  ChrisZ, AT&T Community Specialist




  Helpful?     Yes · 4      No · 0       Report




MassCOFG · 3 months ago                                                                                                                                      2
Will the Note9 be IPv6 compatible and will ATT support it on this phone? Will this make the hotspot more compatible with multiplayer gaming offering an    answers
open NAT?




 Originally posted on Samsung Galaxy Note9 - 128GB - Lavender Purple




 Answer this question



   ChrisZZ · 3 months ago


  Hi @MassCOFG,

  Yes, it is compatible with IPv6 sites. This device does not have router functions to set up UPnP and not recommended for gamming. The Nighthawk Mobile
  Hotspot does support UPnP.

  ChrisZ, AT&T Community Specialist




  Helpful?     Yes · 3      No · 1       Report




Beautykillerbeth · 3 months ago                                                                                                                              2
Does the s pen come with the phone or do you have to buy it extra as an accessory or is that option for people who want an extra s pen?                    answers




 Answer this question



   Tallfallenangel · 3 months ago


  Comes with and fits in phone




  Helpful?     Yes · 5      No · 1       Report




junebug66 · 4 months ago                                                                                                                                     2
are there any differences between the 128 and 512 (other than memory)?                                                                                     answers




 Answer this question
                         Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 16 of 18
    ChrisZZ · 4 months ago


   Hi @junebug66,

   Great question. There is a difference in Ram, 6GB or 8GB.

   ChrisZ, AT&T Community Specialist




   Helpful?     Yes · 16     No · 4      Report



 1–10 of 126 questions                                                                        ◄   ►




                                                               In the box
              Samsung Galaxy Note9




              Quick Start Guide




              Wall/USB charger




              USB connector




              Stereo headset




              SIM card




             Terms and Conditions




People also viewed
                          Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 17 of 18
                       Samsung Galaxy                                     Apple iPhone XR                            Apple iPhone XS Max                                Samsung Galaxy
                           Note9

                                  4.7 | 150 reviews                                 4.6 | 115 reviews                                4.5 | 206 reviews                                4.3 | 244 re




1 Based on average battery life under typical usage conditions. Actual battery life depends on factors such as network, features selected, frequency of calls, and voice, data, and other

application-usage patterns. Results may vary.




2 Avail. in select channels.




3 Faster capability in comparison to any other smartphone without a Cat.18 modem. Subject to carrier capability and offerings. Check with carrier.




4 Fortnite is supported on select devices: Galaxy Note9, Galaxy Tab S4, Galaxy S9/S9+, Galaxy Note8, Galaxy Note FE, Galaxy S8/S8+, Galaxy S7, Galaxy S7 edge.




5 The Dual Aperture supports f/1.5 and f/2.4 mode. Dual Aperture is installed on the camera.




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4G LTE not available everywhere. LTE is a trademark of ETSI.




All talk, data, and standby times depend on network configuration.




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AT&T NEXT OR AT&T NEXT EVERY YEAR: Credit approval required. For smartphones only. Tax on sales price due at sale. Requires 0% APR monthly installment agreement and eligible
service. Divides sales price into monthly installments. AT&T Next: 30-month agreement with trade-in to upgrade when 80% of sales price is paid off. AT&T Next Every Year: 24-month
agreement with trade-in to upgrade when 50% of sales price is paid off. $0 down: Requires well-qualified credit. Limit as low as 1 smartphone at $0 down. Down payment: May be
required and depends on a variety of factors. Down payment if required will be either 30% of sales price or a dollar amount ranging from currently $100 to $600 (amount subject to change
and may be higher). You may choose to pay more upfront. Remainder of sales price is divided into 30 or 24 monthly installments. Service: Eligible postpaid voice and data service
(minimum $50 per month after AutoPay and Paperless billing discount for new customers. Pay $60 per month until discount starts within 2 bills. Existing customers can add to eligible
current plans which may be less) is required and extra. If service is cancelled, remaining installment agreement balance is due. Examples: $749.99 sales price on AT&T Next (30-month)
with $0 down is $25 per month, with $225 down (30%) is $17.50 per month, or with $600 down is $5 per month. On AT&T Next Every Year (24-month) with $0 down is $31.25 per month,
with $225 down (30%) is $21.88 per month, or with $600 down is $6.25 per month. Activation or upgrade fee: Up to $45/line. Restocking Fee: Up to $45. Limits: Purchase limit applies.
Eligibility, device, line and financing limits & other restr's apply. Upgrade with eligible trade-in: Requires payment of percentage of sales price (50% or 80%), account in good standing,
trade-in of financed device (or one of the same make and model) in good physical and fully functional condition through the AT&T Next or AT&T Next Every Year trade-in program (excludes
AT&T trade-in program where you receive an instant credit or AT&T promotion card), and purchase of new eligible smartphone with qualified wireless service. After upgrade, unbilled
installments are waived. See att.com/next and your Retail Installment Agreement for full details.




GEN. WIRELESS SVC: Subj. to Wireless Customer Agmt (att.com/wca). Credit approval required. Svcs not for resale. Deposit: May apply. Limits: Purch. & line limits apply. Prices may
vary by location. Taxes, fees, monthly, other charges, usage, speed, coverage & other restr's apply per line. See att.com/additionalcharges for details on fees & charges. Promotions,
terms & restr's subject to change & may be modified or terminated at any time without notice. International and domestic off-net data may be at 2G speeds. AT&T service is subject to
                             Case 6:20-cv-00585-ADA Document 161-2 Filed 06/05/23 Page 18 of 18
    AT&T network management policies. See att.com/broadbandinfo for details.




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    Shipments to Puerto Rico and the U.S. Virgin Islands may take more than 2 business days. Actual delivery date may also be affected by government processing, unforeseen weather, and
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1. Item name: Samsung Galaxy Note9

2. UPC: 887276284316

3. SKU: 6767B



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